                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MONETTE E. SACCAMENO,                            )
                                                 )
               Plaintiff,                        ) Case No. 15 C 1164
                                                 )
                                                 ) Judge Joan B. Gottschall
       v.                                        )
                                                 )
OCWEN LOAN SERVICING, LLC, and                   )
U.S. BANK NATIONAL ASSOCIATION,                  )
as trustee for C-BASS MORTGAGE LOAN              )
ASSET-BACKED CERTIFICATES, Series                )
2007 RP1,                                        )
                                                 )
               Defendants.                       )


             RULING ON PARTIES’ PROPOSED ADDITIONAL VOIR DIRE

       Defendants are reminded to view the court’s standard voir dire and opening remarks to

the venire since questions 6, 8 and 9 are largely if not entirely covered by the court’s questions.

They are disallowed as repetitive.

Plaintiff’s Proposed Additional Questions

       The following questions are approved: 15, 16, 17, 18, 19, 20, 21, 22. Defendants’

objections to 19-21 are overruled. Questions 19-21 are not excessively intrusive and seek

information which could reveal a significant bias against the plaintiff’s case.

Defendants’ Proposed Voir Dire Questions

       The following questions are approved: 1, 2, 3, 5, 7, 10, 11, 12, 13, 14, 15, 16, 19, 20, 21,

22, 23, 24 (a) and (b).
       Question 4 is approved but only if the wording is changed from “that would prevent you

from serving on this jury” to “that would make it difficult for you to serve on this jury.” Many

potential jurors say they are unable to serve, but whether they will be excused or not is within the

court’s discretion. This question, asked as defendants propose it, will likely cause a huge jury

rebellion if some people who say they cannot serve are not excused.

       Question 24 (parts c-n) asks questions of an extremely sensitive nature. The court will

not permit questioning on these subjects in open court. One way to get at this information is for

defendants to create a simple questionnaire which can be passed out to the venire ahead of time

which asks these questions; in the court’s judgment, this approach is unlikely to yield adequate,

truthful information. Alternatively, the question can be rephrased in a less intrusive way

(perhaps, “have you or anyone close to you ever experienced …..” and if the answer is yes and

the potential juror indicates that he or she would prefer to discuss the matter privately, an

opportunity for a private follow-up (with court, attorneys and clients) will be provided. Based on

the court’s experience selecting juries, it is likely that some jurors will be comfortable answering

in open court, but they must be given the opportunity to answer privately if they prefer.

       The following questions will not be allowed: 17 (lay people will not know these terms

and the question will confuse and terrify them; 18 (same). It is the court’s job to instruct the jury

on the meaning of these terms, insofar as they are relevant. People need not come into the

courtroom understanding these terms and indeed, if they did, we might have a more significant

problem.



Date: March 16, 2018                                                 /s/
                                                      Joan B. Gottschall
                                                      United States District Judge



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